t&.§. COURTS _
Case 1:16-cr- O 15-BLW Document 77 Fl|ed 11/14/17 Page 10f2

NDV 1 tr 2017

U.S'. Depal‘tmenl Df` JUSHHQVd-WF|_I:ES W KEr:|l;rgg-_Rehuesl of Unjted States At‘torney l`or Production of
' HO I"ederal l‘risoner ln 'I`he Cuslody of 'l`he Uniled States

 

Uuited States Attomey MHK| DISTH|CT OF |DA - n n
Pursuant lo Tttle 13, Umtecl Slates Code, Seetton 3621(d)

Distriot of id

 

Distn`el of [chO , pursuant to 18 U.S.C. § 362l(d),

'l`he United Statcs Attome§,r for the

Distn`cl of ldaho , orally other authorized

 

 

 

 

 

 

does hereby request the Unitcd Stalcs Ma.rsha| for the ii j ny
oft'rcer, to produce one Christopher Bohnenkamp 2 -1/ 03 -'Ogg §
' ' " v v §§ _r:)
now confined al thc FC] MCKEEH *’ m() H g___r__r_ 7 ri T'"
§§ era
. _ --l
m the custody of the warden or the person there m eharge, before the !:-_rf i
' LI'J
;x:§ United States District Coult Fm` Pm$cc“ll°" 113 _.:,__
United States Grand Jury [:| For Testimony §§ .__3
ar _ngsg , ldaho j:_?
(citj») (.’rmle)
§ forthwith
§:] m ________ .in., on ‘ l , , or at any time thereafter as the
t . l . 1 g '

United Stales Atlomey or a federal 111ng or Miagistrete:rnay direct, s_o that said person may appear in accordance with law in the case
United States ofAmerica v. ChriStOPhEr-Bohnenkamp _ ft 3

CL_NO_ 16-cR-215-BLW'

E] 111 Re Grand .lury Proceediogs No.

and after said person shall have appeared, fo return said person to thé‘a[urenientione'd custody as may be directed by the United States
` '\IH
‘.

--~ -.. V-..¢_.

At'torney or a federal Jndge or Magislrate. "` " i'_`__'l'- "__ _'_1 _-`_`1'}'7' _.1 l

 

 

SEAL ()li RAYMOND E. PATRICCO
UNITED STATES Assistant Uniled States Attorney Requesting The Prodnction ol` Piisoner In Custody
A't"l‘oRNEY'/
'l`clephonc Nos_ (FTS): (203) 334-1211

 

 

 

/ \.nw
` t o ( munercia!).- ‘

/ [-/ eaa M. oavis ounce states mmmeyz/

 

Dated this 5 day

of Oetober 2017

ll Tl\is request is invalid without the raised seal of the United Stales Atlorney.

2l 'l`he signature ot` the United Stutes Attorney approving the request is required A Supcrvisory Assistant United Statcs Atlorney delegated authority by
the United Statcs Attomey may sign for the United States Attomey provided a letter ofaulhorization is on file with the United Slates Marshal ot` the

same district as the Unitcd Statcs Attomcy.
Previous Editions Obsolete FORM USA-‘WS
MAR 89

 

Case 1:16-Cr-00215-BLW Document 77 Filed 11/14/17 Page 2 of 2

9

m

l have (partia|ty).tm|g) executed the within
1 1 _

 

»- <z\_r<aQ

w@<\€l\<z'\OAWU\O\/U pa

 

Ltoe\z@l<tl

3`[“@2! °W\ ‘P\Rr\/Wd\

|'

